






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00636-CV






Foley Property Assets, LLC, Appellant


v.


Donnie Tasker, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 200TH JUDICIAL DISTRICT

NO. D-1-GN-09-001009, HONORABLE GISELA D. TRIANA-DOYAL, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant filed its notice of appeal on November 4, 2009, and soon thereafter filed
a motion to abate, explaining that the trial court was going to be considering motions that might
affect the status of the appeal.  The trial court then granted appellant's motion to set aside the default
judgment from which appellant sought to appeal.  Because it appeared to this Court that the appeal
was mooted by the trial court's action, we sent the parties notice and asked them to explain whether
this Court could properly exercise jurisdiction or whether the appeal should be dismissed.  See
Naifeh v. Reyes-Naifeh, No. 08-07-00252-CV, 2008 Tex. App. LEXIS 4090, at *3 (Tex.
App.--El&nbsp;Paso June 5, 2008, no pet.); Stelly v. Citibank N.A., No. 14-07-00601-CV, 2008 Tex. App.
LEXIS 3541, at *2 (Tex. App.--Houston [14th Dist.] May 15, 2008, no pet.).  Appellant responded
and stated that it agreed that the appeal should be dismissed.  We therefore dismiss the appeal for
want of jurisdiction.  Tex. R. App. P. 42.3(a).  We also dismiss as moot any pending motions.



					__________________________________________

					David Puryear, Justice

Before Justices Patterson, Puryear and Henson

Dismissed for Want of Jurisdiction

Filed:   May 27, 2010


